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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                        Plaintiff,            )
                                              )
vs.                                           )        Case No. 22-cr-00166-01-BAH
                                              )
JOHN GEORGE TODD III,                         )
                                              )
                        Defendant.            )

                                     ENTRY OF APPEARANCE

       Comes now Ronna Holloman-Hughes, Assistant Federal Public Defender, and requests

the Clerk to enter counsel’s appearance in the above captioned cause on behalf of defendant,

John George Todd III.

                                                     Respectfully submitted,

                                                     /s/ Ronna Holloman-Hughes
                                                     Ronna Holloman-Hughes
                                                     Assistant Federal Public Defender
                                                     1000 Walnut, Suite 600
                                                     Kansas City, MO 64106
                                                     Phone: 816-471-8282
                                                     Fax: 816-471-8008
                                                     Attorney for Defendant


                                     CERTIFICATE OF SERVICE

       In accordance with Rule 49(a), (b) and (d), Fed. R. Crim. P., and Rule 5(b), Fed. R. Civ.

P., it is hereby CERTIFIED that one copy of the foregoing motion was electronically filed on

this 17th day of May 2022, and that a copy was electronically delivered to all participants of the

ECF filing system, pursuant to the Electronic Case Filing system.

                                                     /s/Ronna Holloman-Hughes
                                                     Ronna Holloman-Hughes
